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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

CHARLES BURGIN,

                        Plaintiff,
        v.                                                              DECISION AND ORDER
                                                                             15-CV-201S
PAMELA C. BROWN,
BARBARA SEALS-NEVERGOLD,
DONALD A. OLGOVIE, THERESA HARRIS-TIGG,
CARL PALADINO, JAMES M. SAMPSON,
CHARLES BRANDY, WILL KERESZTES,
PATRICIA PIERCE, LAWRENCE QUINN,
BUFFALO BOARD OF EDUCATION,
and L. NATHAN HARE,

                        Defendants.


                                        I. INTRODUCTION

        Plaintiff Charles Burgin is the founder of Brotherman’s Progress Mentors Matter

Advocacy, a group dedicated to advocating for minority male students in the Buffalo, N.Y.,

public school system. In 2013 and 2014, Burgin worked to have the Buffalo Board of

Education adopt a mentoring program called “5000 Role Models of Excellence Project” in

the Buffalo public schools. After the Board of Education ultimately declined to adopt the

program, Burgin sued here pro se on behalf of himself and at-risk minority male students

and their parents, alleging a number of federal and state claims. Defendants1 moved to

dismiss Burgin’s amended complaint under Rules 12 (b)(1) and (6) of the Federal Rules

of Civil Procedure for lack of subject-matter jurisdiction (standing) and failure to state a


1 Defendant Hare is not a party to the motion to dismiss: he filed an answer. (Docket No. 25.)
Nonetheless, for ease of reference, and because the reasons for dismissal discussed herein apply equally
to Hare, this Court includes Hare in its reference to “Defendants”.

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claim upon which relief can be granted. (Docket No. 19.) With briefing fully completed

and oral argument deemed unnecessary, this Court will grant Defendants’ motion and

afford Burgin 45 days to file a second amended complaint.

                                        II. BACKGROUND

A.     Procedural History

       On March 4, 2015, Burgin filed a 29-page handwritten complaint together with 176

pages of exhibits, which the Buffalo Board of Education promptly moved to dismiss on

March 30, 2015. (Docket Nos. 1, 3.) The majority of remaining defendants moved to

dismiss the complaint on August 26 and 27, 2015, after Burgin further accomplished

service. (Docket Nos. 10, 12.) On December 15, 2015, Burgin responded in opposition

to the pending motions and filed an amended complaint. (Docket Nos. 17, 18.)

       Burgin’s amended complaint is typed, but remains overly long, at 28 pages and

201 pages of exhibits.    (Docket No. 18.) The amended complaint is a narrative of

Burgin’s interactions with the various defendants and others concerning his efforts to

convince the Buffalo Board of Education to implement the “5000 Role Models of

Excellence Project” program.        (Id.)   Burgin includes numerous detailed factual

allegations, but fails to meaningfully tie them to his stated claims. (Id.) This failure, in

part, lead to Defendants moving to dismiss the amended complaint on December 28,

2015. (Docket No. 19.) Briefing on that motion concluded on January 25, 2016, after

which this Court deemed the initial motions to dismiss (Docket Nos. 3, 10, 12) moot in

light of the filing of the amended complaint and reserved decision on Defendants’




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December 28, 2015 motion to dismiss.2 (Docket Nos. 24, 27.)

B.      Facts

        The following facts, drawn from Burgin’s amended complaint, are assumed true

for purposes of assessing Defendants= motion to dismiss for lack of standing and for

failure to state a claim upon which relief can be granted. See Crupar-Weinmann v. Paris

Baguette Am., Inc., 861 F.3d 76, 79 (2d Cir. 2017); ATSI Commc=ns, Inc. v. Shaar Fund,

Ltd., 493 F.3d 87, 98 (2d Cir. 2007).

        Plaintiff Charles Burgin, an African-American male, is the founder of Brotherman’s

Progress Mentors Matter Advocacy, a group dedicated to advocating for minority male

students in the Buffalo public school system. (Amended Complaint, Docket No. 18, ¶¶

5, 24, 73.)     He is also a volunteer in the Buffalo public school system, serving as

chairman of the District Parent Coordinating Council Mentor Committee and as a 2011

superintendent-appointee on the Buffalo Public School Special Mentor Committee (“the

Committee”), which was specifically tasked with creating and implementing district

policies to establish a comprehensive mentor program. (Id. at ¶¶ 6, 25, 27.)

        In 2013, as part of his work on the Committee, Burgin discovered and researched

a life-skills mentoring program designed for minority males (Black and Hispanic) created

by Congresswoman Frederica S. Wilson (D-FL) called “5,000 Role Models of Excellence

Project” (“the program”). (Id. at ¶¶ 7, 28.) Burgin traveled to Washington, D.C., to learn




2 Although this Court denied the initial motions to dismiss as moot, it indicated that it would nonetheless
consider the memoranda of law filed in conjunction with those motions (Docket Nos. 3, 17) as part of the
briefing on Defendants’ motion to dismiss the amended complaint (Docket No. 19), which this Court has
done.

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more about the program and to discuss with Rep. Wilson and the Executive Director the

possibility of implementing the program in Buffalo. (Id. at ¶¶ 7, 29, 40-41.)    Burgin

thereafter set out to gather support for replicating the program in the Buffalo public

schools, principally by contacting school officials and community leaders. (Id. at ¶¶ 8,

30, 32, 33, 38, 39, 43, 44.)

       On June 12, 2013, Buffalo Board of Education members Ralph Hernandez and

Lou Petrucci sponsored a resolution calling on the superintendent to conduct an impact

assessment of the program as the first step toward implementation. (Id. at ¶¶ 36, 37.)

The Board of Education passed the resolution and directed that a cost-analysis study and

development of a business plan be completed as the next steps. (Id. at ¶¶ 37, 38.) Staff

members of the Board of Education, including Defendant Charles Brandy, were tasked

with conducting the cost-analysis study; Burgin was tasked with developing the business

plan. (Id. at ¶¶ 37, 38, 42, 43, 65.)

       According to a November 12, 2013 Committee memorandum concerning

implementation of the program sent by Brandy to Defendant Will Keresztes, Associate

Superintendent of Educational Services, the Committee convened five times in

September and October 2013 to determine the feasibility of implementing the program.

(Id. at ¶ 45 and Exhibit SS.) Brandy explained to Keresztes that Burgin had provided the

Committee with multiple letters of support from area leaders and other materials related

to the program.     (Amended Complaint, Exhibit SS.)     Brandy also relayed that the

Committee explored piloting the program in one elementary school and one secondary

school, with a focus on 10 of the 25 components of the program. (Id.)


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       Brandy further advised Keresztes that the Committee determined that the pilot

program would take place during the third marking period of the 2013-2014 school year,

upon completion of a four-component action plan. (Id.) The first component of the

action plan tasked Burgin with contacting the director of the program to discuss the

program’s components and ask specific questions developed by the Committee. (Id.)

Brandy informed Keresztes, however, that Burgin had failed to participate in the final

Committee meeting and had “ceased all communication.”                  (Id.)   Brandy therefore

advised Keresztes that “[the program] is not recommended for implementation in the

Buffalo Public Schools in a limited or full capacity at this time . . . Specifics of the program’s

core components remain unknown.” (Id.)

       Burgin alleges that the contents of Brandy’s memorandum are false and that he

did not cease communication or fail to provide information. (Id. at ¶ 45.) After the

issuance of this memorandum, Burgin met with Defendant Superintendent Pamela Brown

on December 4, 2013, to explain the inaccuracies in Brandy’s memorandum and to

provide further information, but Brown refused to accept Burgin’s written materials and

dismissed his efforts to bring Rep. Wilson to Buffalo to help implement the program. (Id.

at ¶ 46 and Exhibit SS.)

       Burgin claims that Brandy prepared the false memorandum in conjunction with

Defendant L. Nathan Hare and presented it to Brown through Keresztes so that Hare’s

organization, Erie County Community Action Organization, could contract with the Buffalo

Public Schools to provide a different mentoring program. (Id. at ¶¶ 9, 11, 15, 45, 46, 47,

70.) He further claims that Hare conspired to stop the cost-analysis study ordered by the


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Board of Education as part of a “fraud” by Hare, Brandy, Keresztes, Brown, and other

defendants designed to undermine Burgin’s and the Committee’s chances of

implementing the program. (Id. at ¶¶ 9, 11, 47, 48, 50, 70.) By doing so, Defendants

“act[ed] to deny Black plaintiff and minority parents of at-risk male students attending

Buffalo Public Schools their rights to establish a proven mentor program for Black and

Hispanic at-risk male students that helps them stay in school, graduate and attend

college—the 5,000 Role Models of Excellence Project.” (Id. at ¶ 50.)

      Dissatisfied with Defendant Brown and Defendants continued failure to adopt the

program, Burgin appeared at an April 9, 2014 Board of Education meeting to further voice

his complaints. (Id. at ¶ 53.) He claims that when he spoke to “let the public and T.V.

audience know how the Superintendent, board employees and individual board members

were violating the rights of [Burgin], Black and Hispanic parents of at-risk students and

stakeholders,” Defendant Barbara Seals-Nevergold directed security to remove him from

the meeting. (Id.)

                                   III. DISCUSSION

      Cognizant of the distinct disadvantage that pro se litigants face, federal courts

routinely read their submissions liberally and interpret them to raise the strongest

arguments that they suggest. See Haines v. Kerner, 404 U.S. 519, 520, 92 S. Ct. 594,

596, 30 L. Ed. 2d 652 (1972); Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1994). Since

Burgin is proceeding pro se, this Court has considered his amended complaint and other

submissions accordingly.

      Though somewhat difficult to decipher, Burgin appears to assert four federal claims


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on behalf of himself and at-risk minority male students and their parents: Fourteenth

Amendment (equal protection and due process) and First Amendment claims under 42

U.S.C. § 1983 (Amended Complaint, ¶¶ 16, 24, 52, 53) and race-discrimination claims

under Title VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000d) (id. at ¶ 52). He also

asserts equal protection and due process claims under the New York constitution (¶¶ 16,

24, 52), a state interference-with-contract claim (id. at ¶ 52), and claims asserting

violations of various state education policies and regulations (id. at ¶¶ 17, 19, 20, 24, 55,

61).

        As noted, Burgin purports to bring these claims on behalf of himself and at-risk

minority male students and their parents (see id. at ¶¶ 1, 24, 52, 61) and seeks to maintain

this suit as a class action, with the class to include “minority parents of minority males

attending Buffalo Public Schools whose educational prospects for graduation would be

enhanced by participating in 5,000 Role Models of Excellence Project Buffalo Chapter,”

(Amended Complaint, Wherefore Clause, ¶ C). He further seeks a declaratory judgment

ordering the Buffalo Board of Education and superintendent to implement the program

and injunctive relief requiring the Defendants to cease discriminating against at-risk

minority males. (Id. at ¶¶ D, K.) Finally, he seeks $1 million in compensatory damages

against the Buffalo Board of Education; $5 million in compensatory damages against each

individual defendant (excluding Defendant Hare); $5 million in punitive damages against

the Buffalo Board of Education and each individual defendant (excluding Defendant

Hare); and $10 million in compensatory damages and $15 million in punitive damages

against Defendant Hare. (Id. at ¶¶ E-I.)


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       Defendants move to dismiss each of Burgin’s causes of action for lack of subject-

matter jurisdiction (standing) and failure to state a claim upon which relief can be granted.

A.     Burgin lacks standing to bring claims on behalf of third-party at-risk minority
       male students and their parents.

       The plaintiff, as the party seeking to invoke the court’s jurisdiction, bears the

burden of demonstrating proper subject-matter jurisdiction.        McNutt v. Gen. Motors

Acceptance Corp., 298 U.S. 178, 189, 56 S. Ct. 780, 785, 80 L. Ed. 1135 (1936); Scelsa

v. City Univ. of N.Y., 76 F.3d 37, 40 (2d Cir. 1996). In turn, a defendant may assert lack

of subject-matter jurisdiction as a defense under Rule 12 (b)(1), which permits dismissal

of an action if the “district court lacks the statutory or constitutional power to adjudicate

it.” Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000).

       When a defendant asserts lack of constitutional standing as the jurisdictional

defect, the motion is properly brought under Rule 12 (b)(1). See McKay v. New York,

16-CV-6834-FPG, 2018 WL 1046792, at *2 (W.D.N.Y. Feb. 26, 2018) (citing All. for Envtl.

Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 87-88 n.6 (2d Cir. 2006)). In

assessing a Rule 12(b)(1) motion, the court accepts as true all material factual allegations

in the complaint, but does not draw inferences favorable to the party asserting jurisdiction.

See J.S. ex rel. N.S. v. Attica Cent. Schs., 386 F.3d 107, 110 (2d Cir. 2004); Shipping

Financial Svcs. Corp. v. Drakos, 140 F.3d 129, 131 (2d Cir. 1998). The court may also

consider affidavits and other materials beyond the pleadings, but may not rely on

conclusory or hearsay statements. See J.S., 386 F.3d at 110.

       Defendants argue that Burgin lacks constitutional standing because he does not

have a legally protected interest at stake. See Lujan v. Defs. of Wildlife, 504 U.S. 555,

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560, 112 S. Ct. 2130, 119 L. Ed. 2d 351 (1992). Constitutional standing derives from

Article III of the Constitution, which limits “judicial power” to actual “cases” and

“controversies.”   U.S. Const. art. III, § 2.     It is a doctrine rooted in the traditional

understanding of this limitation. See Spokeo, Inc. v. Robins, __ U.S. __, 136 S. Ct. 1540,

1547, 194 L. Ed. 2d 635 (2016). As recently explained in Spokeo, constitutional standing

developed “to ensure that federal courts do not exceed their authority as it has been

traditionally understood” by limiting “the category of litigants empowered to maintain a

lawsuit in federal court to seek redress for a legal wrong.” Id.; see also Warth v. Seldin,

422 U.S. 490, 498, 95 S. Ct. 2197, 2205, 45 L. Ed. 2d 343 (1975) (“In essence the

question of standing is whether the litigant is entitled to have the court decide the merits

of the dispute or of particular issues.”). Thus, in every federal case, the plaintiff must

have standing to sue. Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11, 124 S.

Ct. 2301, 2308, 159 L. Ed. 2d 98 (2004).

       The “irreducible constitutional minimum” of standing requires three elements.

Lujan, 504 U.S. at 560. “The plaintiff must have (1) suffered an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.”       Spokeo, 136 S. Ct. at 1547; see also

Whitmore v. Arkansas, 495 U.S. 149, 155, 110 S. Ct. 1717, 109 L. Ed. 2d 135 (1990);

Deshawn E. by Charlotte E. v. Safir, 156 F.3d 340, 344 (2d Cir. 1998) (citing Ne. Fl.

Contractors v. City of Jacksonville, 508 U.S. 656, 663, 113 S. Ct. 2297, 124 L. Ed. 2d 586

(1993)).

       An injury in fact is “an invasion of a legally protected interest which is (a) concrete


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and particularized, and (b) actual or imminent, not conjectural or hypothetical.” Lujan,

504 U.S. at 560 (internal citations omitted). A “concrete” injury is one that is “‘de facto’[,]

that is, it must actually exist . . . [it is] ‘real’ and not ‘abstract,’” although an injury need not

be tangible to be concrete. Spokeo, 136 S. Ct. at 1548. To be “particularized,” an injury

“must affect the plaintiff in a personal and individual way.” Id. at n.1; see also Valley

Forge Christian Coll. v. Ams. United for Separation of Church & State, Inc., 454 U.S. 464,

472, 102 S. Ct. 752, 70 L. Ed. 2d 700 (1982) (noting that the plaintiff must personally

suffer an actual or threatened injury). For prospective relief, “a plaintiff must show a

likelihood that he will be injured in the future,” Carver v. City of N.Y., 621 F.3d 221, 228

(2d Cir. 2010) (citation and internal quotation omitted), and that the future injury is

“certainly impending, and real and immediate,” Lee v. Bd. of Governors of the Fed.

Reserve Sys., 118 F.3d 905, 912 (2d Cir. 1997) (citations and internal quotation omitted).

         As the party invoking federal jurisdiction, the plaintiff bears the burden of

establishing these elements for each claim.3 See FW/PBS, Inc. v. Dallas, 493 U.S. 215,

231, 110 S. Ct. 596, 107 L. Ed. 2d 603 (1990). The plaintiff meets this burden at the

pleading stage by “clearly alleg[ing] facts demonstrating each element.” Spokeo, 136 S.

Ct. at 1547. When assessing constitutional standing, courts do not examine the merits

of the claims, but rather, determine “whether the plaintiff has alleged such a personal

stake in the outcome of the controversy as to warrant his invocation of federal-court




3 Standing is claim-specific. That is, a plaintiff must have standing for each claim he or she pursues. See
Cacchillo v. Insmed, Inc., 638 F.3d 401, 404 (2d Cir. 2011) (noting that a plaintiff “must demonstrate
standing for each claim and form of relief sought”) (quoting Baur v. Veneman, 352 F.3d 625, 642 n. 15 (2d
Cir. 2003)).

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jurisdiction and to justify exercise of the court’s remedial powers on his behalf.” Warth,

422 U.S. at 498-99.     Standing is therefore determined “irrespective of the merits of

substantive claims.” Bordell v. Gen. Elec. Co., 922 F.2d 1057, 1060 (2d Cir. 1991).

       Rather than determine Burgin’s constitutional standing, this Court addresses his

claims on the merits below. This is because when the contested basis for standing is

also an element of the plaintiff’s claim—here Defendants argue lack of a legally protected

interest—courts assume subject-matter jurisdiction and move to an examination of

whether the plaintiff states a claim upon which relief can be granted. See Montgomery

v. Cuomo, 14-CV-6709 CJS, 2018 WL 1157171, at *36 n. 168 (W.D.N.Y. Mar. 5, 2018)

(citing Nowak v. Ironworkers Local 6 Pension Fund, 81 F.3d 1182, 1187, 1189 (2d Cir.

1996)).

       As it relates to Burgin’s representative capacity, Defendants argue that Burgin

lacks prudential or third-party standing to bring claims on behalf of at-risk minority male

students and their parents.     Burgin counters that his status as a volunteer on the

Committee, as a “parent representative,” as a parent of a graduate of the Buffalo public

schools, and as the grandparent of a current Buffalo public schools student confers proper

standing.

       Prudential standing is separate from constitutional standing. It holds that “the

plaintiff generally must assert his own legal rights and interests, and cannot rest his claim

to relief on the legal rights or interests of third parties.” Warth, 422 U.S. at 498-99;

Powers v. Ohio, 499 U.S. 400, 410, 111 S. Ct. 1364, 113 L. Ed. 2d 411 (1991). But there

are exceptions to this general prohibition. A plaintiff can assert claims on behalf of a


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third party if three criteria are met: “[1] the litigant must have suffered an ‘injury in fact,’

thus giving him or her a ‘sufficiently concrete interest’ in the outcome of the issue in

dispute; [2] the litigant must have a close relation to the third party; and [3] there must

exist some hindrance to the third party’s ability to protect his or her own interests.”

Powers, 499 U.S. at 410-11 (citing Singleton v. Wulff, 428 U.S. 106, 96 S. Ct. 2868, 49

L. Ed. 2d 826 (1976)).

        Burgin lacks prudential and third-party standing. Accepting all allegations in the

amended complaint as true, Burgin did not suffer an injury in fact. Very simply, the Board

of Education’s failure to adopt the program caused Burgin no harm: He was not a student

or employee of the Buffalo public schools. He was not a parent of a male minority at-risk

student (or any other student) in the Buffalo public schools. He did not develop or own

the program. He had no financial or property interest in the program. As a volunteer—

one of several on the Committee—Burgin simply worked to get the program adopted in

the Buffalo public schools. While it is clear from the amended complaint that Burgin is

exceedingly displeased with Brandy’s November 12, 2013 memorandum and the manner

in which the Committee and the Board of Education operated as it relates to consideration

of the program, on the facts as pleaded, Burgin suffered no legally cognizable injury in

the course of the Committee’s work or by the Board of Education’s failure to adopt the

program. Moreover, nowhere in the amended complaint does Burgin plead a close

relation to any third party4 nor does he allege any hindrance that would prevent any one


4 In this papers, Burgin asserts that his “grandchild presently attends” the Buffalo public schools. This
allegation is not pleaded in the amended complaint, nor is it clear whether this grandchild is an at-risk
minority male.

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of the at-risk male students or their parents from protecting their own interests. Burgin

therefore lacks standing to assert representative claims.

B.     Burgin cannot maintain a class action.

       Burgin seeks to maintain this suit as a class action, with the class to include

“minority parents of minority males attending Buffalo Public Schools whose educational

prospects for graduation would be enhanced by participating in 5,000 Role Models of

Excellence Project Buffalo Chapter.” (Amended Complaint, Wherefore Clause, ¶ C.) It

is well settled, however, that pro se litigants cannot act as representatives of a class.

See, e.g., Iannaccone v. Law, 142 F.3d 553, 558 (2d Cir. 1998) (“[B]ecause pro se means

to appear for one’s self, a person may not appear on another person’s behalf in the other’s

cause.”); Frank v. Aaronson, 120 F.3d 10, 10 n. * (2d Cir. 1997) (“[Plaintiff] is not an

attorney and hence is not permitted to represent a potential class.”); 28 U.S.C. § 1654

(providing for pro se litigants to “conduct their own cases personally”). This case is

therefore properly considered as an individual action only.

C.     Burgin fails to state federal claims upon which relief can be granted.

       Rule 12 (b)(6) allows dismissal of a complaint for Afailure to state a claim upon

which relief can be granted.@ Fed. R. Civ. P. 12 (b)(6). Federal pleading standards are

generally not stringent: Rule 8 requires only a short and plain statement of a claim. Fed.

R. Civ. P. 8 (a)(2). But the plain statement must Apossess enough heft to show that the

pleader is entitled to relief.@ Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557, 127 S. Ct.

1955, 167 L. Ed. 2d 929 (2007).

       When determining whether a complaint states a claim, the court must construe it


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liberally, accept all factual allegations as true, and draw all reasonable inferences in the

plaintiff=s favor. ATSI Commc=ns, 493 F.3d at 98. Legal conclusions, however, are not

afforded the same presumption of truthfulness. See Ashcroft v. Iqbal, 556 U.S. 662, 678,

129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (Athe tenet that a court must accept as true

all of the allegations contained in a complaint is inapplicable to legal conclusions@).

       ATo survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to >state a claim to relief that is plausible on its face.=@ Iqbal, 556 U.S.

at 678 (quoting Twombly, 550 U.S. at 570).           Labels, conclusions, or Aa formulaic

recitation of the elements of a cause of action will not do.@ Twombly, 550 U.S. at 555.

Facial plausibility exists when the facts alleged allow for a reasonable inference that the

defendant is liable for the misconduct charged. Iqbal, 556 U.S. at 678. The plausibility

standard is not, however, a probability requirement: the pleading must show, not merely

allege, that the pleader is entitled to relief. Id. at 1950; Fed. R. Civ. P. 8 (a)(2). Well-

pleaded allegations in the complaint must nudge the claim Aacross the line from

conceivable to plausible.@ Twombly, 550 U.S. at 570.

       A two-pronged approach is thus used to examine the sufficiency of a complaint,

which includes Aany documents that are either incorporated into the complaint by

reference or attached to the complaint as exhibits.@ Blue Tree Hotels Inv. (Can.), Ltd. v.

Starwood Hotels & Resorts Worldwide, Inc., 369 F.3d 212, 217 (2d Cir. 2004). This

examination is context specific and requires that the court draw on its judicial experience

and common sense. See Iqbal, 556 U.S. at 679. First, statements that are not entitled

to the presumption of truth, such as conclusory allegations, labels, and legal conclusions,


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are identified and stripped away. See id. Second, well-pleaded, non-conclusory factual

allegations are presumed true and examined to determine whether they Aplausibly give

rise to an entitlement to relief.@ Id. AWhere the well-pleaded facts do not permit the

court to infer more than the mere possibility of misconduct,@ the complaint fails to state a

claim. Id.

        Burgin asserts four federal claims: Fourteenth Amendment (Equal Protection and

Due Process) and First Amendment claims under 42 U.S.C. § 1983 5 (Amended

Complaint, ¶¶ 16, 24, 52, 53) and race-discrimination claims under Title VI of the Civil

Rights Act of 1964 (42 U.S.C. § 2000d) (id. at ¶ 52). As pleaded, however, each of these

causes of action fails to state a claim upon which relief can be granted.

        First, as to Burgin’s due process claim, the Fourteenth Amendment provides, in

pertinent part, that “[n]o State shall . . . deprive any person of life, liberty, or property,

without due process of law . . . .” U.S. Const. amend. XIV. Two broad categories of due

process claims exist—substantive and procedural. A substantive due process claim is

based upon the deprivation of a constitutionally protected life, liberty, or property interest.

See B.D. v. DeBuono, 130 F. Supp. 2d 401, 431 (S.D.N.Y. 2000). A procedural due

process claim is based upon the deprivation of a protected life, liberty, or property interest,

without notice and an opportunity to be heard. Id. at 432-33.


5 Civil liability is imposed under 42 U.S.C. ' 1983 only upon persons who, acting under color of state law,
deprive an individual of rights, privileges, or immunities secured by the Constitution and laws. See 42
U.S.C. ' 1983. To properly plead a cause of action under § 1983, a plaintiff’s complaint must include
allegations that the challenged conduct “(1) was attributable to a person acting under color of state law, and
(2) deprived the plaintiff of a right, privilege, or immunity secured by the Constitution or laws of the United
States.” Whalen v. County of Fulton, 126 F.3d 400, 405 (2d Cir. 1997); Hubbard v. J.C. Penney Dep’t
Store, 05-CV-6042, 2005 WL 1490304, at *1 (W.D.N.Y. June 14, 2005).


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       With respect to any due process claim, “[t]he threshold issue is always whether the

plaintiff has a property or liberty interest protected by the Constitution.” Narumanchi v.

Bd. of Trs. of Conn. State Univ., 850 F.2d 70, 72 (2d Cir. 1988). Property interests

protected by the Constitution arise out of “rules or understandings that secure certain

benefits and that support claims of entitlement to those benefits,” such as those arising

out of state law. Bd. of Regents v. Roth, 408 U.S. 564, 577, 92 S. Ct. 2701, 33 L. Ed. 2d

548 (1972). Such property interests may include continuation of or eligibility for public

benefits, tenure, and public employment contracts. See id. at 576-77 (citing cases). “To

have a property interest in a benefit, a person clearly must have more than an abstract

need or desire for it . . . He must have more than a unilateral expectation of it . . . He must,

instead, have a legitimate claim of entitlement to it.”        Id. at 577.    Liberty interests

protected by the Constitution include “not merely freedom from bodily restraint but also

the right of the individual to contract, to engage in any of the common occupations of life,

to acquire useful knowledge, to marry, establish a home and bring up children, to worship

God according to the dictates of his own conscience, and generally to enjoy those

privileges long recognized as essential to the orderly pursuit of happiness by free men.”

Id. at 572 (quoting Meyer v. Nebraska, 262 U.S. 390, 399, 43 S. Ct. 625, 626, 67 L. Ed.

1042 (1923)).

       Even affording the amended complaint a liberal reading as required, Burgin fails

to allege a property or liberty interest protected by the Constitution. Rather, Burgin

simply alleges that he was one of several members of a committee tasked with studying

mentorship programs for at-risk minority males for possible adoption by the Buffalo public


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school system. Burgin had no legally protected interest in the adoption of the program:

he had no personal interest in the program; he had no employment interest in the

program; he had no financial interest in the program; and he had no entitlement to have

his favored program implemented.6 Burgin simply wanted the Board of Education to

adopt the mentoring program that he discovered and favored. This desire, however,

does not raise a due process claim. See Looney v. Black, 702 F.3d 701, 706 (2d Cir.

2012) (“A ‘unilateral expectation’ is not sufficient to establish a constitutionally protected

property right.”) (citing Roth 408 U.S. at 577). As such, Burgin’s Fourteenth Amendment

due process claim must be dismissed because Burgin has not pleaded a protected

property or liberty interest in adoption of the program.

        Second, as to Burgin’s equal protection claim, the Equal Protection Clause of the

Fourteenth Amendment commands that no state shall "deny to any person within its

jurisdiction the equal protection of the laws."               U.S. Const. amend. XIV, § 1.              It is

"essentially a direction that all persons similarly situated be treated alike."                      City of

Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432, 439, 105 S. Ct. 3249, 3254, 87 L.

Ed. 2d 313 (1985); see also Sound Aircraft Servs., Inc. v. Town of E. Hampton, 192 F.3d




6 At various points in this papers, Burgin argues his interest in contract terms, stating that “he accepted an
offer,” “they made an agreement,” and he had an “oral business agreement” with Rep. Wilson. (Docket
No. 17, p. 2; Docket No. 23, p. 3.) Similar terms appear in the amended complaint. (See Amended
Complaint, ¶ 7 (“accepted an offer”); ¶ 52 (Defendants denied Burgin “the opportunity to contract”).) Burgin
also describes the Board of Education’s directive to prepare a “business plan.” (See, e.g., Amended
Complaint, ¶¶ 37, 42, 52.) What is clear from the amended complaint, however, is that the “agreement”
and “oral contract” related simply to Rep. Wilson’s willingness to help Burgin in his efforts to bring the
program to Buffalo. Burgin had no formal contract with Rep. Wilson or any other enforceable agreement
that would give rise to a property right. And further, according to Burgin’s own allegations, any “contract”
to eventually be entered would be between the program and the Board of Education, not Burgin.
Consequently, Burgin fails to state an interest protected by the Fourteenth Amendment.

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329, 335 (2d Cir.1999) (“[a]t its core, equal protection prohibits the government from

treating similarly situated persons differently”). The Equal Protection Clause “bars the

government from selective adverse treatment of individuals compared with other similarly

situated individuals if ‘such selective treatment was based on impermissible

considerations such as race, religion, intent to inhibit or punish the exercise of

constitutional rights, or malicious or bad faith intent to injure a person.’” Bizzarro v.

Miranda, 394 F.3d 82, 86 (2d Cir. 2005) (quoting LeClair v. Saunders, 627 F.2d 606, 609-

10 (2d Cir. 1980)).

       A “traditional” equal protection claim “protects against [classification-based]

discrimination,” such as race or national origin. Inturri v. City of Hartford, 365 F. Supp.

2d 240, 248 (D.Conn. 2005).        Two other related equal protection claims are also

recognized.    See Cobb v. Pozzi, 363 F.3d 89, 109 (2d Cir. 2004). First, in Vill. of

Willowbrook v. Olech, the United States Supreme Court recognized a “class of one” claim.

528 U.S. 562, 564, 120 S. Ct. 1073, 145 L. Ed. 2d 1060 (2000). Second, in LeClair v.

Saunders, the Second Circuit recognized an equal protection claim based on malicious

or bad faith intent to injure. 627 F.2d at 609-10. At a minimum, each theory requires a

plaintiff to demonstrate that he or she was treated differently from other similarly situated

individuals.

       Here, although Burgin pleads that he is African-American, his amended complaint

is devoid of any allegations that he was treated differently than a similarly situated

individually because of his color or race. Burgin does not plead that he was treated

differently than another person, or that a similarly situated person even existed, or that


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any differential treatment he may have experienced was motivated by his color or race.

Burgin therefore fails to state an equal protection claim under any theory.

       Third, as to Burgin’s First Amendment claim, “[u]nder the prevailing constitutional

framework, speech restrictions imposed by the government on property that it owns are

analyzed under a ‘forum based approach.’” Hotel Emps. & Rest. Emps. Union, Local

100 & Vicinity, AFL CIO v. City of N.Y. Dep't of Parks & Recreation, 311 F.3d 534, 544

(2d Cir. 2002) (quoting Int'l Soc’y for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672,

678, 112 S. Ct. 2701, 120 L. Ed. 2d 541 (1992)). A “limited” public forum exists “where

the government opens a non-public forum but limits the expressive activity to certain kinds

of speakers or to the discussion of certain subjects.” Travis v. Owego–Apalachin Sch.

Dist., 927 F.2d 688, 692 (2d Cir. 1991).

       A board of education meeting is a limited public forum. See Jones v. Bay Shore

Union Free Sch. Dist., 947 F. Supp. 2d 270, 278 (E.D.N.Y. 2013) (“Typically, school board

meetings are limited public fora.”); accord Hotel Emps., 311 F.3d at 545 (listing a school

board meeting as an example of a limited public forum) (citing City of Madison Joint Sch.

Dist. No. 8 v. Wis. Emp’t Relations Comm’n, 429 U.S. 167, 174-76, 97 S. Ct. 421, 50 L.

Ed. 2d 376 (1976)). “‘[I]n a limited public forum, government is free to impose a blanket

exclusion on certain types of speech, but once it allows expressive activities of a certain

genre, it may not selectively deny access for other activities of that genre.’” Hotel Emps.,

311 F.3d at 545-46 (quoting Travis, 927 F.3d at 692). As for speech falling outside the

specified categories for which the forum has been opened, “restrictions need only be

viewpoint neutral and reasonable.” Id. at 546. But the government may not, even in a


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limited forum, “regulat[e] speech when the specific motivating ideology or the opinion or

perspective of the speaker is the rationale for the restriction.” Rosenberger v. Rector &

Visitors of the Univ. of Va., 515 U.S. 819, 829, 115 S. Ct. 2510, 2516, 132 L. Ed. 2d 700

(1995).

      The allegations underlying Burgin’s First Amendment claim are sparse.            He

alleges that Defendants denied him “an opportunity to be heard at a [Board of Education]

‘speakers list’ meeting held on April 9, 2014.” (Amended Complaint, ¶ 53.) He alleges

that after he “started reading his speech to [the] audience and public television audience

about the negative conduct of board members while further demanding that the board

meet with him,” Defendant Seals-Nevergold ordered security to remove him from the

meeting. (Id. at ¶ 72.) Burgin alleges that he was escorted out of the meeting “under a

policy and custom of not publicly letting anyone speak out against any named board

member or the superintendent who have aggrieved them.” (Id. at 53.)

      Burgin’s allegations fail to state a First Amendment claim. He does not allege that

he was an approved speaker at the April 9, 2014 board meeting (e.g., a registered

speaker) or that he was attempting to speak about a subject that was on the meeting

agenda. See Travis, 927 F.2d at 692. Rather, he alleges that he attempted to “speak

out” against the board members and superintendent to expose their “shutting down the

board ordered impact study/cost analysis” for the program. (Amended Complaint, ¶ 72.)

Unless mentoring programs or the “impact study/cost analysis” study or some other

related issue was a topic of the April 9, 2014 meeting, and Defendants prevented Burgin

from speaking on that topic because of the content of his remarks, none of which Burgin


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alleges, he fails to state a First Amendment claim in this context. See Rosenberger, 515

U.S. at 829.

       Finally, as to Burgin’s statutory race-discrimination claim, 42 U.S.C. § 2000d

provides that “[n]o person in the United States shall, on the ground of race, color, or

national origin, be excluded from participation in, be denied the benefits of, or be

subjected to discrimination under any program or activity receiving Federal financial

assistance.” “To state a claim of discrimination under Title VI, the plaintiff must plausibly

allege, inter alia, that the defendant engaged in discrimination based on race, the

discrimination was intentional, and the defendant’s discriminatory intent was a substantial

or motivating factor for its actions.” Perez de Leon-Garritt v. State Univ. of N.Y. at

Buffalo, No. 14-CV-456S, 2014 WL 7384221, at * (W.D.N.Y. Dec. 29, 2014) (citing

Roggenbach v. Touro Coll. of Osteopathic Med., 7 F. Supp. 3d 338, 347 (S.D.N.Y. 2014)).

       Nowhere in the amended complaint does Burgin plead that he was excluded from

participating in or subjected to race discrimination in a federally-funded program. And

nowhere does Burgin plead that he was discriminated against because of his race, or that

such discrimination was intentional, or that Defendants’ actions were motivated by

unlawful discrimination. Instead, Burgin appears to assert this claim on behalf of the at-

risk minority youth for whom the program was intended, which, as noted above, he lacks

standing to do. Burgin therefore fails to state a claim under § 2000d.

D.     This Court declines to exercise supplemental jurisdiction over Burgin’s
       state-law claims.
       Having disposed of Burgin’s federal claims, this Court finds it appropriate to decline

to exercise supplemental jurisdiction over Burgin’s state law claims. See 28 U.S.C. §

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1367 (c)(3).   The United States Supreme Court has instructed that courts should

ordinarily decline to exercise supplemental jurisdiction in the absence of federal claims.

See Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 n. 7, 108 S. Ct. 614, 98 L. Ed. 2d

720 (1988) (noting that in the usual case where all federal claims are eliminated before

trial, the relevant factors informing the decision of whether to exercise supplemental

jurisdiction will “point towards declining to exercise jurisdiction over the remaining state-

law claims”); United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726, 86 S. Ct. 1130,

16 L. Ed. 2d 218 (1966) (“Certainly, if the federal claims are dismissed before trial, . . .

the state claims should be dismissed as well.”).

       The Second Circuit shares this view: where “federal-law claims are eliminated

before trial, the balance of factors to be considered under the pendent jurisdiction

doctrine—judicial economy, convenience, fairness, and comity—will point toward

declining to exercise jurisdiction over the remaining state-law claims.” Valencia ex rel.

Franco v. Lee, 316 F.3d 299, 305 (2d Cir. 2003); see also Marcus v. AT&T Corp., 138

F.3d 46, 57 (2d Cir. 1998) (“In general, where the federal claims are dismissed before

trial the state claims should be dismissed as well.”)

       Burgin’s remaining claims, to the extent they are cognizable, require interpretation

of state law alone, and are thus more appropriately determined in state court in the

interests of comity and efficiency.       Accordingly, this Court declines to exercise

supplemental jurisdiction over Burgin’s state law claims. They are instead dismissed

without prejudice under 28 U.S.C. § 1367 (c)(3).




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E.     Burgin is granted leave to file a second amended complaint.

       Although Burgin’s amended complaint is deficient and subject to dismissal for all

of the reasons stated above, the Second Circuit has directed that pro se litigants be given

the opportunity to amend their complaints at least once “when a liberal reading of the

complaint gives any indication that a valid claim might be stated.” Thompson v. Carter,

284 F.3d 411, 416 (2d Cir. 2002) (citing Branum v. Clark, 927 F.2d 698, 705 (2d Cir.

1991)). Although it seems unlikely that Burgin could state Fourteenth Amendment or §

2000d claims, he may be able to state a valid First Amendment claim, depending on the

facts and circumstances of the April 9, 2014 school board meeting. Accordingly, this

Court will dismiss Burgin’s amended complaint, but grant him 45 days in which to file and

serve a second amended complaint that complies with the requirements of Rule 15.

Burgin is advised that his second amended complaint will replace and supersede his

amended complaint, which will no longer have legal effect. See Dluhos v. Floating &

Abandoned Vessel, Known as New York, 162 F.3d 63, 68 (2d Cir. 1998); see also Bennett

v. Fletcher, 9:17-CV-849 (GTS/CFH), 2018 WL 557885, at *1 (N.D.N.Y. Jan. 18, 2018).

The second amended complaint must therefore be a complete pleading without

incorporation of previous complaints. See Local Rule 15 (a) of the Local Rules of Civil

Procedure for the Western District of New York.


                                     IV. CONCLUSION

       For the reasons stated above, this Court finds (1) that Burgin lacks standing to

assert claims on behalf of third-party at-risk minority male students and their parents, (2)

that Burgin cannot maintain this suit as a class action, (3) that Burgin fails to state federal

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claims upon which relief can be granted, (4) that the relevant factors weigh against

exercising supplemental jurisdiction, and (5) that Burgin should be afforded the

opportunity to file a second amended complaint.           Consistent with these findings,

Defendants’ motion to dismiss will be granted.

                                       V. ORDERS

         IT HEREBY IS ORDERED, that Defendants’ Motion to Dismiss (Docket No. 19) is

GRANTED.

         FURTHER, that Plaintiff is granted leave to file a second amended complaint within

45 days of the entry date of this Decision and Order.

         FURTHER, that Plaintiff’s failure to file an Amended Complaint within 45 days of

the entry date of this Decision and Order will result in Plaintiff’s case being dismissed and

closed without further order of this Court.

         SO ORDERED.

Dated:         April 24, 2018
               Buffalo, New York


                                                          /s/William M. Skretny
                                                          WILLIAM M. SKRETNY
                                                         United States District Judge




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